Case 5:15-cv-00158-BJB-LLK Document 6 Filed 08/17/15 Page 1 of 16 PageID #: 13


                                                                                                           VANESSA L. ARMSTRONG, CLERI<

                                                                                                                    AUG 11' Z015

~A0241
(Rev. I 0/07)
                                           5:t5-CJ!-t68-1lse_
                                       PETITION UNDER 28 U.S.C. § 2254 FOR WRIT OF
                                     HABEAS CORPUS BY A PERSON IN STATE CUSTODY

                      United States District Court                      I District: Western
  Name (under which you were convicted):                                                                        Docket or Case No.:

            Quincy Omar Cross                                                                                   08-CR-00001-001
  Place of Confinement :                                                                      Prisoner No.:
            Kentucky State Penitentiary                                                        //156845

  Petitioner (include the name under which you were convicted)              Respondent (authorized person having custody of petitioner)

                                                                       v.
            Quincy Omar Cross                                                   Warden Randy White


  The Attorney General of the State of Kentucky



                                                                    PETITION

   ··.. ,
  1:            (a) Name and locat_ion of court that entered the judgment of conviction you are challenging:
      Graves   Circuit Court
      Courthouse, Box 5
      100 E. Broadway, Mayfield, Kentucky 42066
                (b) Criminal docket or case number (ifyou know): 07-CR:::00060

  2.            (a) Date of the judgment of conviction (if you know) 4-09-2008

                (b) Date of sentencing:       5-21-2008

  3.            Length ofsentence:    Life without! Parole

  4.            In this case, were you convicted on more than one count or of mote than one crime?                       lXI Yes          0   No

  5.            Identify all crimes of which you were convicted and sentenced in this case:
                1) Kidnapping-(with aggravator of murder) Life without Parole
                2) Murder-(with aggravator of Rape and Sodomy) Life without Parole
                3) Sodomy-1st degree 50 years
                4) Rape-Life
                5) Abuse of Co~pse-5 years
                6) Tampering with Physical Evidence- 3 years

  6.            (a) What was your plea? (Check one)

                                          IXJ (1)      Not guilty           0       (3) •     Nolo contendere (no contest) .

                                          0    (2)     Guilty               0       (4)       Insanity plea
Case 5:15-cv-00158-BJB-LLK Document 6 Filed 08/17/15 Page 2 of 16 PageID #: 14




'A0241                                                                                                                               Page 2
(Rev. I 0/07)

                (b) If you entered a guilty plea to one count or charge and a not guilty plea to another count or charge, what did

                you plead guilty to and what did you plead not guilty to?          Plead not guilty to all charges.




                (c) Ifyou went to trial, what kind of trial did you have? (Check one)

                          IXJ   Jury      0 Judge only
  7.            Did you ·testify at a pretrial hearing, trial, or a post-trial hearing?

                          0     Yes      ltJ No
  8.            Did you appeal from the judgment of conviction?

                          IXJ   Yes       0 No
  9.            If you did appeal, answer the following:       YES
                (a) Name of court: Kentucky Supreme Court

                (b) Docket or case number (if you know): · 2008-SC-000465

                (c) Result: Affirmed

                (d) Date ofresult (ifyou know):       3-18-2010 '
                (e)Citationtothecase(ifyouknow):             20WKy. Lexis ir40 (Ky., Mar. 18, 2010)
            (f) Grounds raised: • Commonwealth's "Document Dump" Prosecutorial Misconduct.
         2)Jury instructions were confusing and effectively prevent a defense against
            double jeopardy.
         3)Trial Court erred in denying his motion far directed verdict of acquittal on
            the capital kidnapping and first degree rape.
         4)That his Sixth, Eighth and Fourteenth ~endment rights were violated when it
            was discovered a juror had a bible in the jury room.
         S)the death penalty is a disproportional punishment for the crime of capital
            kidnapping and that the capital kidnapping statute is unconstitutional.
         6)convictions for both kidnapping and capital murder violate double jeopardy.
            (g) Did you seek further review by a higlier state court? 0 Yes  I1J No
         I) His ~~ Eig;hth - amendmen.t ri_ght were violated when the -jury .w as a-l lowed to consider-
                     lryes, answer ffie tollowmg:-
                                                   as a d eat h pena 1 ty aggravtor f or caplta
                                                                                            · 1 k l· d napplng.
                                                                                                           ·

                          (1) Name of court: Ni!A

                         (2) Docket or case number (if you know):          N/A

                          (3) Result:   N/IA



                          (4) Date of result (ifyou know):        N/ A
Case 5:15-cv-00158-BJB-LLK Document 6 Filed 08/17/15 Page 3 of 16 PageID #: 15




~A0241                                                                                                                          Page 3
(Rev. 10/07)

                        (5) Citation to the case (ifyou know):     Nl A
                        (6) Grounds raised: NI A




               (h) Did you file a petition for certiorari in the United States Supreme Court?          0    Yes      I1J   No

                        If yes, answer the following:   NI A

                        (1) Docket or case number (ifyou know):      Nl A
                        (2) Result: N I A



                        (3)-Date of result (if you know):   Nl A
                        (4) Citation to the case (if you know):    Nl A
 ·10.          Other than the direct appeals listed above, have you previously filed any other petitions, applications, or motions

               concerning this judgment of conviction in any state court? .             IKJ Yes        0    No

  11.          If your answer to Question 10 was "Yes," give the following information:

               (a)      (1) Name of court: Graves Circuit Court

                        (2) Docket or case number (ifyou know):           07-CR-060
                        (3) Date of filing (ifyou know):       6-01-2011
                        (4)Natureoftheproceeding: RCr 11.42 Ineffective Assistance of Trial Counsel

                        (5) Grounds raised: 1) Failure to adequately present an alternative perpetrator
                        defense.
                        2)Commonwealth's failure to prove every element of charged offense.
                        3)Failure to investigate and call relevant witnesses.
                        4)failure to object to hearsay evidence that did not possess indicia of
                           reliability.
                        S)Failure to object to incompetent and unreliable examination of the victim
                           that resulted in contradictory results.
                        6)Failure to object to -a contaminated crime scene.Unauthorzied people
                           ·in the crime scene.
                         ?)Evidence being withheld, taken, fabricated, and lost from crime scene
                       -- --such as---hair -found --a-t -scene.    - --·- - ·· ··
                         S)failed to present evidence and testimony from who collected, took
                            possession of evidence.
                         9)Mu1tiplelcontradictory theories to in indict and c0nvict Petitioner.
                        (6) Did you receive a hearing where evidence was given on your petition, application, or motion?
                                Coun~l
                        dO}Yes               failed to ,obtain expert funding for trial.
                                       lil- No

                        (7) Result: Denied

                        (8) Date of result (ifyou know):       10-21-2011
Case 5:15-cv-00158-BJB-LLK Document 6 Filed 08/17/15 Page 4 of 16 PageID #: 16




~A0241                                                                                                                      Page 4
(Rev. I 0/07)

                (b) Ifyou filed any second petition, application, or motion, give the same infonnation: No

                        (1) Name of court:    N/ A

                        (2) Docket or case number (if you know): N/ A

                        (3) Date of filing (ifyou know): N/ A

                        (4) Nature of the proceeding:       N/ A

                        (5) Grounds raised:        N /A




                         (6) Did you receive a hearing where evidence was given.on your petition, application, or motion?

                         0    Yes      Q!;J No

                         (7) Result:    N1A

                         (8) Date of result (ifyou know):     N/ A
                (c) If you filed any third petition, application, or motion, give the same infonnation: No

                         (1) Name of court:      N/ A
                         (2) Docket or case number (if you know):    N/ A
                         (3) Date of filing (ifyou know):    N/ A
                         (4) Nature of the proceeding:       N/ A
                         (5) Grounds raised: N /A
Case 5:15-cv-00158-BJB-LLK Document 6 Filed 08/17/15 Page 5 of 16 PageID #: 17




~A0241                                                                                                                            Page 5
(Rev. I 0/07)

                         (6) Did you receive a hearing where evidence was given on your petition, application, or motion?

                         0    Yes       !1J: No
                         (7) Result:   NI A

                         (8) Date ofresult (ifyou know):       N/ A

                (d) Did you appeal to the highest state court having jurisdiction over the action taken on your petition, application,

                or motion? YES

                         (I) First petition:      00 Yes        0     No

                         (2) Second petition:     0   Yes       rn    No

                         (3) Third petition:      0   Yes       ~     No

                (e) Ifyou did not appeal·to the highest state court having jurisdiction, explain why you did not:
                     N/A


' 12.           For this petition, state every ground on which you claim that you are being held in violation of the Constitution,
                laws, or treaties of the United States. Attach additional pages if you have more than four grounds. State the facts
                supporting each ground.

                CAUTION: To proceed in the federal court. you must ordinarily first exhaust (use up) your available state-court
                remedies on each ground on whichyou request action by the federal court. Also. if you fail to set forth all the
                grounds in this petition, you may be barred from presenting additional grounds at a later date.

  GROUND ONE:  Commonwealth of Kentucky':s Document Dump approach to Discovery constituted
  Prosecutorial misconduct.

  (a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):
    Document Dump- 60.000 pages of documents
                   200 Disks
                   500 Documents -mostly duplicates of documents
                   All.done because of time factor•




  (b) If you did not exhaust your state remedies on Ground One, explain why:
        Exhausted to highest State Court of Kentucky (Supreme Court)
Case 5:15-cv-00158-BJB-LLK Document 6 Filed 08/17/15 Page 6 of 16 PageID #: 18




~AO     241                                                                                                                           Page 6
(Rev. I 0/07)

  (c)           Direct Appeal of Ground One:

                (1) If you appealed from the judgment of conviction, did you raise this issue?           ~    Yes      0     No

                (2) Ifyou did not raise this issue in your direct appeal, explain why:    Nl A



  (d) Post-Conviction Proceedings:

                (1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?

                         0     Yes      IJl No
                (2) If your answer to Question (d)( 1) is "Yes," state: NI A

                Type of motion or petition: N/.A

                Name and location of the court where the motion or petition was filed:         NI A



                Docket or case number (if you know): N I A

                Date of the court's dedsion: N I A

                Result (attach a copy ofthe court's opinion or order, if available):     Nl A



                (3) Did you receive a hearing on your motion or petition?                                 0   Yes      1]1   No

                (4) Did you appeal from the denial of your motion or petition?                            0   Yes      1]1   No

                (5) Ifyour answer to Question (d)(4) is "Yes," did you raise this issue in the appeal?   lXI Yes       0     No

                (6) If your answer to Question (d)( 4) is "Yes," state: NI A

                Name and location of the court where the appeal was filed:     Nl A'


                Docket or case number (if you know): NI A

                Date ofthe court's decision:     Nl A
                Result (attach a copy of the court's opinion or order, if available):   Nl A



                (7) Ifyour answer to Question (d)(4) or Question (d)(S) is "No," explain why you did not raise this issue:
                All ·Dmrect Appeal Issues cannot be raised on RCr 11.42 motion post-conviction.
Case 5:15-cv-00158-BJB-LLK Document 6 Filed 08/17/15 Page 7 of 16 PageID #: 19




'li:hA0241                                                                                                                       Page 7
(Rev. 10/07)


 (e) Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you have

  used to exhaust your state remedies on Ground One:            N 1A




  GROUND TWO: Confusing jury instructions violated defendents rights to due proce·s s.



  (a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):
   Jury instructions were confusing and .incomprehensible.
    Suggesting that defendent could be found guilty if they believed he acted alone,
    if he was the principle actor with accomplice's, or . he was the accomplice, Who was
   actually guilty of what.
   Jury ·instructions put Defendent at risk for successive prosecutions in violation
   of
   .   .Due Process.
             .
   Jurors were never instructed on how to apply the definition of Accomplice.




  (b) If you did not exhaust your state remedies on Ground Two, explain why:
   Exhusted all state Remedies.




  (c)          Direct Appeal of Ground Two:

               (1) If you appealed from the judgment of conviction, did you raise this issue?           I1J Yes       0     No

               (2) If you did not raise this issue in your direct appeal, explain why:   NI A




  (d)          Post-Conviction Proceedings:

               (I) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?

                        0     Yes      lXI No
               (2) If your answer to Question (d)( I) is "Yes," state:   NI A

               Type of motion or petition:    NI A

               Name and location of the court where the motion or petition was filed:      Nl A


               Docket or case number (ifyou know):       Nl A
               Date ofthe court's decision:    Nl A
Case 5:15-cv-00158-BJB-LLK Document 6 Filed 08/17/15 Page 8 of 16 PageID #: 20




~A0241                                                                                                                            Page 8
(Rev. 10/07)

               Result (attach a copy of the court's opinion or order, if available):   Nl A



               (3) Did you receive a hearing on your motion or petition?                                 0       Yes   ml    No

               (4) Did you appeal from the denial ofyour motion or petition?                             0       Yes   ml    No

               (5) Ifyour answer to Question (d)(4) is "Yes," did you raise this issue in the app.eal?   0       Yes   ~     No

               (6) If your answer to Question (d)( 4) is "Yes," state:    N1A

               Name and location ofthe court where the appeal was filed:        Nl A


               Docket or case number (if you know): NI A

               Date ofthe court's decision:   Nl A
               Result (attach a copy of the court's opinion or order, if available): NI A




               (7) If your answer to Question (d)(4) or Question (d)(S) is "No," explain why you did not raise this issue:
                 Issues raised on Direct Appeal cannot be raised in RCr 11.42.




  (e)          Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you :

               have used to exhaust your state remedies on Ground Two          NI A




  GROUND THREE: Commonwealth failed to meet burden and present sufficient evidence
  to prove that Defendent committed capital murder, Kidnapping, 1st degree Rape,
  Trail Court error by denying Directed Verdict in violation of Petitioner's Due Process.
                                                        --·--  -·
-·-cafsupportlngf acts     (Do not argue or cite-law. Just state the sp~ciflc facts that support your claim.):
  Defendent's alleged conduct if guilty would have fell within Kidnapping exception
  Statue, conflicting accounts of facts by Vinisha and Victoria, Commonwealth failed
  to prove Defendent Raped Jessica, Commonwealth" failed to 'prove ' First Degree Rape
  and was not legally valid aggravator.
Case 5:15-cv-00158-BJB-LLK Document 6 Filed 08/17/15 Page 9 of 16 PageID #: 21




~A0241                                                                                                                           Page 9
(Rev. 10/07)

 (b) If you did not exhaust your state remedies on Ground Three, explain why?
    Exhausted all state Remedies.




  (c)          Direct Appeal of Ground Three:

               (1) If you appealed from the judgment of conviction, did you raise this issue?            1]1   Yes    0     No

               (2) If you did not raise this issue in your direct appeal, explain why:       Nl A



  (d)          Post-Conviction Proceedings:

               (1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?

                        0     Yes      IXJ No
               (2) Ifyour answer to Question (d)(l) is "Yes," state:     ·   Nl A
               Type of motion or petition:    NI A

               Name and location of the court where the motion or petition was filed:             NI A



               Docket or case number (if you know):        Nl A
               Date ofthe court's decision: N I A

               Result (attach a copy of the court's opinion or order, if available):       Nl A



               (3) Did you receive a hearing on your motion or petition?                                 0     Yes    ~     No

               (4) Did you appeal from the denial of your motion or petition?                            0     Yes    13 No
               (5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal?   0     Yes    l1r   No

               (6) If your answer to Question (d)(4) is "Yes," state:   Nl A
               Name and location of the court where the appeal was filed:           Nl A


               Docket or case number (ifyou know):      Nl A
               Date ofthe court's decision:   Nl A
               Result (attach a copy of the court's opinion or order, if available):   Nl A
Case 5:15-cv-00158-BJB-LLK Document 6 Filed 08/17/15 Page 10 of 16 PageID #: 22




 ~A0241
                                                                                                                              Page 10
 (Rev. 10/07)


                (7) If your answer to Question (d)(4) or Question (d)(S) is "No," explain why you did not raise this issue:
                   Issues raised on Direct Appeal cannot be raised in an RCr 11.42 Motion.




  (e)           Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you
                have used to exhaust your state remedies on Ground Three: NI A




  GROUND FOUR: Jurors consulted a Bible during penalty phase deliberations.
  Trial Court erred by denying defendant's motion for a mistrial.

  (a) Supporting facts (Do not argue or-cite law. Just state the specific facts that support your claim.):
   Jurors took a Bible into the jury room for .deliberations and being instructed
   that the only thing that you are to consider are the exhibits and evidence that's
   been presented. A Bible was not allowed ·into the jury room at all. Only the
   Exhibits and evidence presented at trial.




  (b) If you did not exhaust your state remedies on Ground Four, explain why:

   Exhausted all state remedies . on this issue.




  (c)           Direct Appeal of Ground Four:

                ( 1) If you appealed from the judgment of conviction, did you raise this issue?         1m Yes       0 No
            (2) If you did not raise this issue in your direct appeal, explain why:    Nl A


  (d)       Post-Conviction Proceedings:

            (I) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?

                         0    Yes      ~No

            (2) If your answer to Question (d)(l) is "Yes," state:       Nl A
            Type of motion or petition: NI A
Case 5:15-cv-00158-BJB-LLK Document 6 Filed 08/17/15 Page 11 of 16 PageID #: 23




~AO 241                                                                                                                         Page II
(Rev. I 0/07)

                Name and location of the court where the motion or petition was filed:       NI A


                Docket or case number (if you know): N I A

                Date of the court's decision:   Nl A
                Result (attach a copy of the court's opinion or order, if available):   Nt A



                (3) Did you receive a hearing on your motion or petition?                                 0   Yes     rn   No

                (4) Did you appeal from the denial of your motion or petition?                            0   Yes     Qg' No
                (5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal?   0   Yes     rn   No

                (6) If your answer to Question (d)(4) is -"Yes," state:   Nl A
                Name and location of the court where the appeal was filed: N I A



                Docket or case number (if you know): N I A

                Date ofthe court's decision:     Nl A
                Result (attach a copy ofthe court's opinion or order, if available): N I A




                (7) If your answer to Question (d)(4) or Question (d)(5) is "No," explain why you did not raise this issue:
                Issued raised in Direct Appeal cannot be raised in an RCr 11.42 motion.




  (e)           Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you

                have used to exhaust your state remedies on Ground Four:

                 NIA
Case 5:15-cv-00158-BJB-LLK Document 6 Filed 08/17/15 Page 12 of 16 PageID #: 24




 ~AO 241                                                                                                                             Page 12
 (Rev. I 0/07)

   13.           Please answer these additional questions about the petition you are filing:

                 (a)      Have all grounds for relief that you have raised in this petition been presented to the highest state court

                          havingjurisdiction?      (i1J   Yes       0     No

                          If your answer is "No," state which grounds have not been so presented and give your reason(s) for not
                          presenting them:     NI A




                 (b)      Is there any ground in this petition that has not been presented in some state or federal court? If so,

                          ground or grounds have not been presented, and state your reasons for not presenting them: YES
  -1 ) -Actual innocence on newly obtained evidence after Direct Appeal and RCr 11.42 ·
       was filed. Deposition of Commonwealth's witness Vanisha Stubblefield abou~t
      the lies and money the Commonwealth has paid to· ·Victoria and the testimony that
      the KBI made Vanisha testify to at trial.
· 2) Ineffective assi~~   - nJs off. Post · ConllictionhC9.unseltfor not reouestin£ a hearing
            · concern~ng      rutn u~~es9 ot van~s as sta ements, . berore tr~a~.
· 14.            Have you previOlls y   1e   any type or petition, application, or motion in a federal court regarding the conviction
                 that you challenge in this petition?           0   Yes        m   No

                 If "Yes," state the name and location of the court, the docket or case number, the type of proceeding, the issues

                 raised, the date of the court's decision, and the result for each petition, application, or motion filed. Attach a copy

                 of any court opinion or order, if available. NI A




  15.        Do you have any petition or appeal now pending (filed and not decided yet) in any court, either state or federal, for

             the judgment you are challenging?                  0   Yes        IXJ No
             If "Yes," state the name and location of the court, the docket or case number, the type of proceeding, and the

             raised.       Nl A
Case 5:15-cv-00158-BJB-LLK Document 6 Filed 08/17/15 Page 13 of 16 PageID #: 25




 ~AO 241                                                                                                                         Page 13
 (Rev. 10/07)

   16.          Give the name and address, ifyou know, of each attorney who represented you in the following stages ofthe
                judgment you are challenging:

                (a) At preliminary hearing:



                (b) At arraignment and plea:


                (c)Attrial:   Vincent P. Yustas and i Jill Giordano
                              C/ 0 'Residence Xnn
                              3900 Coleman Crossing Circle
                              Paducah, Kentucky 42001
                (d) At sentencmg: Vincent P. Yustas and Jill H. Giordano
                                     Same as Above

              (e) On appeal: James J. Drake
                              Assistant Public Advocate
                              Department of Public Advocacy, 100 Fair Oaks Lane, Suite 302,
            · (f) In any post-conviction proceeding: Frankfort·, Kentucky 40601

                  None

                (g) On appeal from any ruling against you in a post-conviction proceeding:
                  None



   17.          Do you have any future sentence to serve after you complete the sentence for the judgment that you are

                challenging?            0 Yes         rn    No

                (a) If so, give name and location of court that imposed the other sentence you will serve in the future:
                      N/A



                (b) Give the date the other sentence was imposed: N/A

                (c) Give the length ofthe other sentence:    N/ A
                (d) Have you filed, or do you plan to file, any petition that challenges the judgment or sentence to be served in the

                future?                 0 Yes         Gl No
   18.          TIMELINESS OF PETITION: If your judgment of conviction became final over one year ago, you must explain

                the one-year statute oflimitations as contained in 28 U.S.C. § 2244(d) does not bar your petition.*

                I am within the one year Time limitation and I am also filing this Petition
                under actual innocence based on newly discovered evidence after my Direct
                Appeal and RCr 11.42 was filed in State Court, and under Ineffective Assistants
                of Post Conviction Counsel.
Case 5:15-cv-00158-BJB-LLK Document 6 Filed 08/17/15 Page 14 of 16 PageID #: 26




'lilhA0241                                                                                                                   Page 14
(Rev. I 0/07)


                      Dated of Conviction             5-21-2008

                      Date of Direct Appeal Denial                  11 i 25~2009

                      Date of Modified and Rehearing Denial                       3-18-2010

                      Date of RCr 11.42 filed               6-01-20 l 1

                      Date of RCr 11.42 Denial From Circuit Court                           10-21-2011

                      Date Appealed RCr 11.42 to Kentucky Court of Appeals and Denied                                        2-07-2014

                      Date of Discret.ionary Reviewed filed                      3-04-2014

                      Date Discretionary Review was Denied                       5-06-2015

                      Date filed for Appointment of Counsel to file Federal Habeas Corpus
                      and denial of Counsel to file Federal Habeas Corpus on 7-16-2015
                                                                                                  '.   '




  *The Antiterrorism and Effective Death Penalty Act of 1996 ("AEDPA") as contained in 28 U.S.C.           § 2244(d) provides in

  part that:

                (1)   A one-year period of limitation shall apply to an application for a writ ofhabeas corpus by a person in
                      custody pursuant to the judgment of a State court. The limitation period shall run from the latest of-

                      (A)      the date on which the judgment became final by the conclusion of direct review or the expiration
                               of the time for seeking such review;

                      (B)      the date on which the impediment to filing an application created by State action in violation of
                              j:he ConstitJ.!tipnor .@ws_ofthe_United.States_is_remoYed,Jfthe_applicant was prevented from .-
                               filing by such state action;

                      (C)      the date on which the constitutional right asserted was initially recognized by the Supreme
                               Court, if the right has been newly recognized by the Supreme Court and made retroactively
                               applicable to cases on collateral review; or

                      (D)      the date on which the factual predicate of the claim or claims presented could have been
                               discovered through the exercise of due diligence.
Case 5:15-cv-00158-BJB-LLK Document 6 Filed 08/17/15 Page 15 of 16 PageID #: 27




 ~A0241                                                                                                                           Page IS
 (Rev. I 0/07)

                 (2)   The time during which a properly filed application for State post-conviction or other collateral review
                       with respect to the pertinent judgment or claim is pending shall not be counted toward any period of
                       limitation under this subsection.

   Therefore, petitioner asks that the Court grant the following relief:
                                               To Vacate judgment • and Sentence
   imposed by the Graves County Circuit Court on all Counts that the Petitioner
   was convicted of.


   or any other relief to which petitioner may be entitled.




                                                                           · Signature of Attorney (if any)




   I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct and that this Petition for

   Writ of Habeas Corpus was placed in the prison mailing system on            <6/1 3 (.dOD              (month, date, year).




   Executed (signed) on       ?I /3' {   2o   l_s-        (date).




                                                         Q1~p@-~~
                                                              Y                 Signature of Petitioner ·

   If the person signing is not petitioner, state relationship to petitioner and explain why petitioner is not signing this petition.
                         Case 5:15-cv-00158-BJB-LLK Document 6 Filed 08/17/15 Page 16 of 16 PageID #: 28
 James ClemGns #172559 D-4-CL-08
 Eastern Kentucky Correct i oa~l CQ~plex
 2@Q Roa!!l' To· Justice
 West Liberty, Kentucky 41472

                                                                                             EKCC Inmate Mai l
                                                                                        Not Responsible for C~ntent




                                                        fiLED
                                                 VANESSA l. ARMSTRONG, CLERK

                                                        AUG 1 7 2015
                                                                ~ I v ~ ' •~IH f
                                                . •c:SY'N. DIST. KENTUCKY


                                                          Western District of Kentucky
                                                          Baited States IDistrict Co~rt Clerk
                                           ;~
                                                          Kelly P. _Harris, Deputy-ia-Charge                                                                     •'I
                                                          Federal Bldg., 501 Broadway, Suite 127
                                                          Paducah, Kentucky 42001-6801




                    E K.CC
                    AUG I 3.201
              .~   LEGAL MAIL_



                                                                                            .. .      "_              ·.             .               - ~

.~     -    ~ "100~
                    ,                       -                   L        :.
                                                                                  .I
                                                                              ----.~1              h\dl'il 1'1lllh I\ llliiIi\\ Ii ,l,IPII' 11qiJ Pl11lhh'   I
